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                                     July 16, 2021

BY ECF
Hon. Claire C. Cecchi, U.S.D.J.
United States District Court
Martin Luther King Jr. Federal Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

        Re:     In re Ex Parte Application of JSC United Chemical Company Uralchem
                Civil Action No. 2:20-cv-3651-CCC-MF

Dear Judge Cecchi:

       This firm, along with Emery Celli Brinckerhoff Abady Ward & Maazel LLP and
Linklaters LLP, represents petitioner JSC United Chemical Company Uralchem (“Uralchem”) in
the above-referenced matter. In its June 29, 2021 Order (ECF No. 34), the Court afforded
Uralchem 30 days from the entry of the Order to filed an amended application pursuant to 28
U.S.C. §1782 (“Section 1782”).

       We respectfully request a 60-day extension from July 29, 2021 to September 27, 2021 of
the deadline to file an amended Section 1782 application, as well as a 30-day extension of
Uralchem’s time to appeal, pursuant to FRAP 4(a)(5). The extensions are necessary to provide
adequate time for Uralchem to meaningfully consider Court’s opinion and determine how to
proceed, as well as to accommodate previously scheduled summer travel and other case
commitments.

        Lawton Lane Chemical Inc. consents to this request. Thank you for Your Honor’s kind
attention to this matter.

                                     Respectfully,

                                     BEVELOCK & FISHER LLC

                                     s/ Gregory J. Bevelock
                                     Gregory J. Bevelock
Encls.
c : All Counsel of Record (by ECF)
